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                       IN THE UNITED STATES DISTRICT COURT
                            THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                 Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,                                                SEALED

    Defendant.



                      MOTION TO FILE PROPOSED REDACTED
                   REPLY BRIEF AND BRIEF IN SUPPORT THEREOF

         Michael T. Flynn (“Mr. Flynn”) requests this Court order the filing of his proposed

redacted Reply on the public docket. There is little reason for the Exhibits attached to Mr. Flynn’s

brief to be sealed at all, but Mr. Flynn agrees that the Exhibits can remain sealed longer if truly

needed by the government. Mr. Flynn’s brief itself, however, contains very little material quoting

those Exhibits, and Mr. Flynn has already redacted from the attached proposed Reply, filed under

seal, the names that the government itself redacted from Mr. Flynn’s Motion to Compel. As

always, the defense has attempted to resolve this issue without requesting intervention from this

Court—to no avail. As this Court has repeatedly noted, “‘There is a strong presumption in favor

of public access to judicial records. See, e.g., Nixon v. Warner Commc'ns, Inc., 435 U.S. 589, 597

(1978) (‘It is clear that the courts of this country recognize a general right to inspect and copy

public records and documents, including judicial records and documents.’).”

                                          ARGUMENT

         Mr. Flynn filed his Reply to the Government’s Opposition to the Motion to Compel by

noon on October 22, 2019, completely under seal because of its minimal references to materials



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produced under the Protective Order. The defense expected it could quickly resolve the issue with

government counsel given the government’s previous redactions of the Motion to Compel. We

advised the prosecution on Saturday, October 19, 2019, of every document the defense intended

to cite that was produced under the Protective Order and requested the government approve them

to be unsealed. Shortly after filing the Reply yesterday, counsel for Mr. Flynn sent the government

a copy of the brief with light redactions that mirrored those redactions the government made in the

original Motion to Compel. Counsel requested that the government propose any further redactions

so the brief could be quickly filed for the public—preferably by the close of business on October

22. Ex. 1.

          The government replied that it “would request more redactions beyond” what the defense

proposed, but it provided no reason whatsoever.      Given that the government has not provided

defense counsel any classified information, this seems inexplicable. The defense also requested

that the government promptly provide a copy with all its requested redactions, and it has not. The

proposed redacted Reply the defense attaches here under seal includes redactions of the names the

government previously redacted and all quotations of any material covered by the Protective

Order.1

          Much of the information in the Flynn Reply is legal argument and authorities, or factual

information and analysis developed in the defense’s own investigation. As the government has

stated repeatedly, it has not given the defense “any classified information.”




1
 The Flynn 302 should not need to be sealed as the government has already filed a redacted copy
on the public docket at 62-1; and it also filed a more redacted version of Ex. 6 publicly at Dkt. 77.
The only exhibits to the Reply for which the defense knows of any reason to remain under seal are
5, 6, 9, 10, 11, and 12. Further, if those are not unsealed by November 7, 2017, the argument of
counsel on the Motion would be truncated or presumably the courtroom would have to be sealed.

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       From June 6, 2019, as evidenced by defense counsel’s confidential letter to the Deputy

Attorney General, the government attached in its response, new lead counsel for Mr. Flynn has

given the government every opportunity to dismiss this case in the interest of justice on its own

because of the rampant wrongdoing of government agents from the inception of the “investigation”

and prosecution of Mr. Flynn. Instead of doing so, the government has continued to defy its

constitutional, ethical and legal obligations to this Court and to the defense, and to hide evidence

that it knows exonerates Mr. Flynn. As is the essence of the problem here, instead of protecting

its citizens, the “government” is protecting its own criminal conduct and operatives. The only real

“equity holder” in this case is Michael T. Flynn, whose career was deliberately and maliciously

destroyed by outrageous government conduct documented in our brief in reply. The American

public is entitled to see that now.

       Mr. Flynn served this country for over thirty-three years, in which time he rose to the

pinnacle of his field in intelligence and national security. He is recognized as one of the foremost

intelligence officers of his generation.2 He was deliberately targeted for destruction by certain

elements in the government for many reasons—not the least of which was his publicly expressed

intent to audit the “intelligence agencies” where billions of taxpayer dollars are unaccounted for.

The allegations made against Mr. Flynn precipitated his removal from the administration of a

newly elected president in a time of great tension in this country.

       In the American legal tradition, legal proceedings are open: “the courts are public

institutions that best serve the public when they do their business openly and in full view.” Nat'l



2
 James Kitfield, How Mike Flynn Became America’s Angriest General, POLITICO (Oct. 16, 2016)
(quoting a colleague remarking that “Mike Flynn is the best intelligence officer of his generation,
and he and Stan McChrystal are the principle reason we have not suffered a half-dozen 9/11-type
attacks since 2001”), https://www.politico.com/magazine/story/2016/10/how-mike-flynn-
became-americas-angriest-general-214362.

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Children's Ctr., 98 F.3d at 1408 and public inspection of court filings is the default in the United

States justice system both because it promotes justice for the defendant, and also because

transparency is critical to public confidence in the rule of law.

        Open trials have been a bedrock of the American system for generations. The Supreme

Court has more than once examined the history of open trials, tracing this tradition from our

predecessors in medieval England to the early American colonies to today’s modern system, and

consistently concluded that “[f]rom this unbroken, uncontradicted history, supported by reasons

as valid today as in centuries past, it must be concluded that a presumption of openness inheres in

the very nature of a criminal trial under this Nation's system of justice.” Richmond Newspapers,

Inc. v. Virginia, 448 U.S. 555, 573 (1980). As a result, “it is clear that the courts of this country

recognize a general right to inspect and copy public records and documents, including judicial

records and documents.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978). “[A]ccess

to records serves the important functions of ensuring the integrity of judicial proceedings in

particular and of the law enforcement process more generally.” United States v. Hubbard, 650

F.2d 293, 314–15 (D.C. Cir. 1980), and that with respect to a criminal trial, there is a “strong

presumption in favor of public access to judicial proceedings.” Nat'l Children's Ctr. Inc., 98 F.3d

at 1409 (internal citations omitted).

        The right of the public to observe is concomitant with the right of an accused to an open

trial. The Supreme Court has held that “no right ranks higher than the right of the accused to a fair

trial,” but that “the primacy of the accused’s right is difficult to separate from the right of everyone

in the community to attend.” Press-Enterprise Co. v. Superior Ct. of Ca, Riverside, 464 U.S. 508

(1984). The Court noted that the virtue and necessity of open trials springs from the attendant

“confidence that standards of fairness are being observed,” the “assurance that established




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procedures are being followed and that deviations will become known.” Id. Therefore, not only

is the “basic fairness of the criminal trial” enhanced, but the “appearance of fairness so essential

to public confidence in the system” is preserved. Id. For, as the Court noted, “[p]eople in an open

society do not demand infallibility from their institutions, but it is difficult for them to accept what

they are prohibited from observing.” Id. at 509.

        In the case at bar, the need for quick public access to the documents is clear and of the

highest importance. First, because Mr. Flynn, like all defendants in our system, is entitled to that

age-old tradition of transparency that gives assurance “that others [are] able to observe the

proceedings” and justice will be done. Press-Enterprise Co., 464 U.S. at 507. But in addition to

Mr. Flynn’s claim to regular proceedings, is the public’s concern for the welfare of the justice

system generally. Mr. Flynn’s case has captivated the attention of the nation, and public debate

about the case and the circumstances surrounding it have raised serious questions about the nature

of the investigation and the legitimacy of the charges. Suspicions that grave misconduct has

occurred—at the highest levels of our nation’s most prominent federal agencies—have scandalized

the public and seriously undermined trust in the rule of law—the bedrock of our society. It is

imperative that the public has the chance to speedily examine these filings for themselves and

make conclusions about the activities of their own government, whatever those conclusions might

be.

                                          CONCLUSION

        Transparency is crucial: “[a] popular Government without popular information, or the

means of acquiring it, is but a Prologue to a Farce or a Tragedy: or perhaps both.... A people who

mean to be their own Governors, must arm themselves with the power which knowledge gives.”

Metlife, Inc. v. Fin. Stability Oversight Council, Inc., 865 F.3d 661, 665 (D.C. Cir. 2017) (quoting




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James Madison). The American public have a right to stay informed on these issues and this case,

and to examine and discuss the contents of the documents quickly. Counsel respectfully requests

the Court order the filing of the attached proposed redacted Reply on the public docket, pending a

more complete disclosure once the government’s “equity holders” have agreed.

       Dated: October 23, 2019.



                                                       Respectfully Submitted,



                                                       Sidney Powell



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                             CERTIFICATE OF CONFERENCE

       I hereby certify that the parties have conferred on the above Motion. As we were finalizing

the motion, the government further responded, still without proposed redactions: “[w]e appreciate,

and share, your interest to get the reply and exhibits on the public docket as soon as possible. We

currently have resolved all but one issue with respect to redactions to your filing. That one issue,

however, is particularly sensitive and will not be resolved by 5pm today. We expect that it will be

resolved by sometime tomorrow, but until we get further direction and approval from the equity

holder we cannot provide any greater specificity. We also expect to have an update on the issue

by later this evening.”




                                                                     /s/ Sidney Powell
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